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                          IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF PENNSYLVANIA

                                                )
 JAMES BOLLINGER                                )
                                                ) CIVIL ACTION NO.
         Plaintiff,                             )
                                                )
 v.                                             )
                                                )
 JD PALATINE LLC                                )
                                                )
         Defendant.                             )
                                                )

                                        COMPLAINT
                                  PRELIMINARY STATEMENT

         1.       This is an action for damages brought by an individual consumer against Defendant

JD Palatine LLC for violations of the Fair Credit Reporting Act (hereafter the “FCRA”), 15 U.S.C.

§§ 1681 et seq., as amended.

                                  JURISDICTION AND VENUE

         2.       Jurisdiction of this Court arises under 15 U.S.C. § 1681p and 28 U.S.C. §§ 1331.

         3.       Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).

                                            THE PARTIES

         4.       Plaintiff, James Bollinger, is an adult individual who resides in Philadelphia, PA.

         5.       Defendant JD Palatine LLC (“JDP”) is a business entity and consumer reporting

agency that regularly conducts business in the Eastern District of Pennsylvania, and which has its

headquarters and a principal place of business located at 10675 Perry Hwy, #607, Wexford, PA

15090.

                                    FACTUAL ALLEGATIONS

         6.       In or around March 2021, Plaintiff was attempting to secure an apartment.



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        7.       As part of Plaintiff’s rental application, a consumer report was obtained from

Defendant.

        8.       Defendant’s report contained derogatory and inaccurate information about

Plaintiff.

        9.       Defendant has been reporting, and did here report, derogatory and inaccurate

statements and information relating to Plaintiff and Plaintiff’s criminal history and record to third

parties (“inaccurate information”).

        10.      The inaccurate information includes, but is not limited to, felony convictions,

including convictions for Operate Motor Vehicle during 2nd/Subsequent DWI License Suspension

and Operate Motor Vehicle during License Suspension – 2nd Violation.

        11.      Plaintiff’s felony convictions were, in fact, dismissed and vacated by the Court in

2017.

        12.      The derogatory inaccuracies appear to be caused by a misreading of public records.

Any rudimentary inspection of the data would reveal the inaccuracies. Defendant obviously failed

to employ such a procedure.

        13.      As a result of the inaccurate report Defendant sold about Plaintiff, Plaintiff was

denied for an apartment. The inaccurate criminal information within the report was a substantial

factor for the denial.

        14.      As a result of Defendant’s conduct, Plaintiff has suffered actual damages in the

form of lost rental opportunities, harm to reputation, and emotional distress, including frustration,

humiliation and embarrassment.




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        15.      At all times pertinent hereto, Defendant was acting by and through its agents,

servants and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of the Defendant herein.

        16.      At all times pertinent hereto, the conduct of the Defendant, as well as that of its

agents, servants and/or employees, was intentional, willful, reckless, and in grossly negligent

disregard for federal law and the rights of the Plaintiff herein.

                         COUNT ONE – VIOLATIONS OF THE FCRA
                            PLAINTIFF v. JD PALATINE LLC

        17.      Plaintiff incorporates the foregoing paragraphs as though the same were set forth at

length herein.

        18.      At all times pertinent hereto, Defendant was a “person” and “consumer reporting

agency” as those terms are defined by 15 U.S.C. §§ 1681a(b) and (f).

        19.      At all times pertinent hereto, the Plaintiff was a “consumer” as that term is defined

by 15 U.S.C. § 1681a(c).

        20.      At all times pertinent hereto, the above-mentioned consumer reports were

“consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).

        21.      Pursuant to 15 U.S.C. § 1681n and 15 U.S.C. § 1681o, Defendant is liable to the

Plaintiff for willfully and negligently failing to comply with the requirements imposed on a

consumer reporting agency of information pursuant to 15 U.S.C. §§ 1681e(b).

        22.      The conduct of Defendant was a direct and proximate cause, as well as a substantial

factor, in bringing about the serious injuries, actual damages and harm to the Plaintiff outlined

more fully above and, as a result, Defendant is liable to the Plaintiff for the full amount of statutory,

actual and punitive damages, along with the attorneys’ fees and the costs of litigation, as well as

such further relief, as may be permitted by law.

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                                       JURY TRIAL DEMAND


       23.    Plaintiff demands trial by jury on all issues so triable.

                                       PRAYER FOR RELIEF


       WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the

Defendant, based on the following requested relief:

       (a)    Actual damages;

       (b)    Statutory damages;

       (c)    Punitive damages;

       (d)    Costs and reasonable attorneys’; and

       (e)    Such other and further relief as may be necessary, just and proper.




                                             Respectfully Submitted,

                                             FRANCIS MAILMAN SOUMILAS, P.C.

                                     BY:      /s/ Mark D. Mailman
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Dated: April 22, 2022                        Attorneys for Plaintiff




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